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                                         No. 23-40605


                IN THE UNITED STATES COURT OF APPEALS
                        FOR THE FIFTH CIRCUIT
           Texas Medical Association; Tyler Regional Hospital, L.L.C.; Dr. Adam Corley,
                                                        Plaintiffs-Appellees/Cross-Appellants,
                                                  v.
United States Department of Health and Human Services; Office of Personnel Management; United
States Department of Labor; United States Department of Treasury; Xavier Becerra, Secretary, U.S.
  Department of Health and Human Services, in his official capacity; Kiran Ahuja, in her official
   capacity as the Director of the Office of Personnel Management; Janet Yellen, Secretary, U.S.
 Department of Treasury, in her official capacity; Julie A. Su, Acting Secretary, U.S. Department of
                                   Labor, in her official capacity,
                                                        Defendants-Appellants/Cross-Appellees.

LifeNet, Incorporated; Air Methods Corporation; Rocky Mountain Holdings, L.L.C.; East Texas Air
                                             One, L.L.C.,
                                                        Plaintiffs-Appellees/Cross-Appellants,
                                                   v.
United States Department of Health and Human Services; Office of Personnel Management; United
States Department of Labor; United States Department of Treasury; Xavier Becerra, Secretary, U.S.
   Department of Health and Human Services, in his official capacity; Kiran Ahuja, in her official
    capacity as the Director of the Office of Personnel Management; Janet Yellen, Secretary, U.S.
 Department of Treasury, in her official capacity; Julie A. Su, Acting Secretary, U.S. Department of
                                    Labor, in her official capacity,
                                                        Defendants-Appellants/Cross-Appellees.

                     On Appeal from the United States District Court
                           for the Eastern District of Texas
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            INTRODUCTION AND SUMMARY OF ARGUMENT

       Congress enacted the No Surprises Act (Act) to shield patients from the often-

crippling effects of surprise medical bills. To do so, it established a system that caps a

patient’s potential liability for certain care provided by out-of-network providers while

allowing providers to obtain additional compensation from the patient’s health plan

without the market-distorting effects of being able to surprise bill the patient directly.

Congress articulated the general framework for the Act’s operation but entrusted the

Department of Health and Human Services, the Department of Labor, and the

Department of the Treasury (the Departments) with responsibility for fleshing out

several critical aspects of the scheme through implementing regulations. Among

other things, Congress tasked the Departments with establishing the methodology for

determining the “qualifying payment amount” or “QPA,” a figure that often

determines the maximum amount that a patient can be required to pay for covered

items and services, and which is also a relevant factor in assessing how much

additional compensation a provider should receive from the patient’s health plan. See

42 U.S.C. § 300gg-111(a)(2)(B)(i) (setting a deadline by which the Departments must

“establish through rulemaking” the “methodology” for “determin[ing] the qualifying

payment amount”).

       In discharging their responsibility to implement the Act, the Departments made

the types of methodological determinations assigned to them by Congress. In doing

so, they drew on their expertise concerning the operation of and customary practice
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within the health insurance market. They took proper account of the comparative

administrative burdens associated with alternative approaches to implementing the

statute. And they gave due weight to the Act’s purpose of eliminating the deleterious

effects of surprise medical billing on individual patients and the health care system as

a whole. Accordingly, the Departments determined that the QPA should be

computed using an administrable methodology that enables the QPA to serve as a fair

proxy for the market value of a given service, without diluting the Act’s protections by

artificially inflating the QPA and thereby exposing patients to higher bills. Similarly,

the Departments determined that a key statutory deadline for making initial payment

determinations should not be triggered prematurely in a manner that would be

inconsistent with normal industry practice and that would increase the likelihood that

patients would receive surprise bills.

       Plaintiffs’ response briefs repeat the district court’s mistake of assuming that

Congress answered questions that the Act instead assigned to the Departments to

resolve. Plaintiffs are thus wrong to assert that the Departments’ reasonable

methodological judgments are inconsistent with the plain terms of the Act. And their

alternative arguments that the challenged provisions are arbitrary and capricious are

equally without merit. No remedy—let alone universal vacatur—was appropriate as

to the provisions at issue in the Departments’ appeal.

       Plaintiffs also cross-appeal to renew a challenge to the Departments’ regulation

governing the disclosures that plans must make to providers regarding their QPA
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calculations. Here, again, plaintiffs’ position cannot be reconciled with an express

statutory delegation of rulemaking authority, which charges the Departments with

determining “the information” plans are required to share with providers. 42 U.S.C.

§ 300gg-111(a)(2)(B)(ii). Plaintiffs fail to demonstrate any error in the district court’s

determination that the Departments were not required to adopt plaintiffs’ preferred

balancing of their desire for certain information against the burdens plaintiffs’ favored

disclosure requirements would impose.

                                     ARGUMENT

I.     The Rule’s Reasonable Methodology for Calculating the QPA
       Comports with the No Surprises Act.

       Much of this appeal centers on the Departments’ regulations governing the

methodology for computing the QPA, which, as we have explained, is a rough proxy

for the rate that in-network providers receive for furnishing a given item or service for

a patient enrolled in a given health plan. Congress specified certain requirements as to

how the QPA is to be calculated. The calculation must generally be based on “the

median of the contracted rates recognized by [a given] plan . . . on January 31, 2019,”

adjusted for inflation. 42 U.S.C. § 300gg-111(a)(3)(E)(i)(I). It reflects “the total

maximum payment (including the cost-sharing amount imposed for such item or

service and the amount to be paid by the plan or issuer, respectively).” Id. The QPA

for a given service should consider only the contracted rates “for the same or a similar

item or service that is provided by a provider in the same or similar specialty and

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provided in the geographic region in which the item or service is furnished.” Id. And

it must be computed “consistent with the methodology established by the Secretary.”

Id.; see also id. § 300gg-111(a)(2)(B)(i) (requiring the Departments to establish a

methodology for computing the QPA).

       The three provisions at issue in this appeal that relate to the QPA calculation

methodology are consistent with the text and purpose of the No Surprises Act. As

the Departments’ opening brief demonstrates, those provisions are—at a minimum—

“reasonable in light of the text, nature, and purpose of the statute.” Cuozzo Speed

Techs., LLC v. Lee, 579 U.S. 261, 276-77 (2016). In light of Congress’s express grant

of rulemaking authority to the Departments, that fact is sufficient to resolve this

appeal. Plaintiffs fail to show otherwise.1




       1
         Plaintiffs assert that the government “forfeited” Chevron deference in this case,
TMA Br. 31 n.7; Air Ambulance Br. 23 n.9, seemingly because the Departments’ brief
did not cite the Supreme Court’s decision in Chevron, U.S.A., Inc. v. Natural Resources
Defense Council, Inc., 467 U.S. 837 (1984), itself. But the Standard of Review section of
the Departments’ brief identified the applicable standard as coming from this Court’s
decision in Easom v. US Well Services, Inc., 37 F.4th 238 (5th Cir. 2022), which applied
Chevron and recognized that an agency action taken pursuant to an express delegation
of authority, like the one here, must be upheld unless “arbitrary, capricious, or
manifestly contrary to the statute,” id. at 245 (quotation marks omitted). The
Departments also cited Cuozzo, as again quoted in the text above (see Opening Br. 27).
Plaintiffs, by contrast, never address these cases explicating the relevant standards or
otherwise engage with the applicable framework.
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       A.     The Rule Permissibly Directed Health Plans to Calculate
              QPAs Based on their Contracted Rates, Rather Than the
              Specifics of How Often a Given Provider Provided an Item
              or Service at that Rate.
       1. As the Departments demonstrated in their opening brief (at 27-31), the rule

reasonably interprets the statutory requirement that the QPA be based on the

“median of the contracted rates recognized by the plan or issuer” for a particular

service to mean that the calculation should look to the rates appearing on the face of a

health plan’s contracts that were in force on January 31, 2019, “regardless of the

number of claims paid at that contracted rate.” Requirements Related to Surprise Billing;

Part I, 86 Fed. Reg. 36,872, 36,888-89 (July 13, 2021). The plain language of the

statute focuses on the rates that a plan has “contracted” to pay, not the frequency

with which a provider has utilized a given rate. 42 U.S.C. § 300gg-111(a)(3)(E)(i)(I).

Yet plaintiffs insist that the Departments were statutorily required to direct health

plans to look beyond the four corners of their contracts and exclude a subset of their

contracted rates from their calculations—namely, those associated with a service that

a given provider happened not to provide pursuant to that contract over an

unspecified time frame.

       There is no merit to this contention. The Departments’ approach reflects a

reasonable—and thus permissible—interpretation of the statutory text and is

consistent with both industry practice and sound and efficient administration. The

Departments’ approach is administrable, directing plans to use readily available


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information within their possession. And it tracks insurance industry contracting

practice, where rates are normally negotiated on a prospective basis. Thus, when a

provider and a plan agree to a particular rate for a particular service, neither party

knows with certainty how many times, if at all, that provider will actually provide that

service to the plan’s participants over the course of the contract. But both sides

accept that the agreed-to rate will govern whenever the service is furnished. The

Departments’ approach to the QPA calculation, which focuses on the rates agreed to

by the parties ex ante, thus mirrors the way rates are negotiated in the market.

       Plaintiffs insist that this approach is foreclosed by the statutory requirement

that the QPA be based on the contracted rates “for the same or a similar item or

service that is provided by a provider in the same or similar specialty and provided in the

geographic region in which the item or service is furnished.” 42 U.S.C. § 300gg-

111(a)(3)(E)(i)(I) (emphasis added). Plaintiffs pluck the italicized phrase from its

context, insisting that it should be read in isolation to bar the inclusion of a rate unless

the relevant item or service was “provided by a provider” during some unspecified

period before or after the contracted rate was recognized. But a statutory term “must

be understood in the context of the phrase in which it appears.” Seago v. O’Malley, 91

F.4th 386, 392 (5th Cir. 2024), reh’g denied. Here, the relevant provision, taken as a

whole, makes clear that Congress was requiring QPAs to be separately derived based

on the specialty of the provider and the geographic region in which the service is


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furnished. The truncated phrase repeatedly quoted by plaintiffs (see TMA Br. 6, 12,

25) fails to accurately reflect the entire provision’s natural meaning.

       Plaintiffs suggest that if Congress had intended to allow the Departments to

direct that QPAs should be calculated based only on contracted rates, it would have

excluded the words “is provided.” But Congress in fact chose a natural phrase to

encompass rates for services that are contracted to be provided in the same region

and by a provider in the same or similar specialty. “[T]he mere possibility of clearer

phrasing cannot defeat the most natural reading of a statute.” Caraco Pharm. Labs.,

Ltd. v. Novo Nordisk A/S, 566 U.S. 399, 416 (2012). And in any event, “[t]he canon

against surplusage is not an absolute rule.” Marx v. General Revenue Corp., 568 U.S. 371,

385 (2013). And surely if Congress had intended to create a substantial exception to

the statute’s otherwise exclusive focus on “contracted rates,” it would have done so

more expressly. This is particularly true because, had Congress intended plaintiffs’

meaning, it could easily have selected clearer language to articulate that a rate should

only be included if it was actually used to pay a provider for having provided the

specific item or service. See Opening Br. 30. And contrary to plaintiffs’ argument, the

government’s reading of this statute does not read “provided” to mean the same thing

as “recognized” (TMA Br. 34-35), where the statute looks both to whether the rate is

“recognized” in a contract between a plan and a provider and whether a service will

be “provided” in the same region by a provider in the same or similar specialty.


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      If that were not enough, plaintiffs fail to explain how their reading makes sense

in light of the surrounding statutory context. As the Departments noted, the statute

directs that QPAs be based not on rates paid over a specified period but rather the

contracted rates recognized on a specific date, January 31, 2019, demonstrating that

Congress intended that the plans take a snapshot of the contracts as they existed on

that date to calculate QPAs for future use. See 42 U.S.C. § 300gg-111(a)(3)(E)(i)(I).

Plaintiffs argue (TMA Br. 35-36) that that statutory date is relevant to when a given

rate must be “recognized” in a contract but that the statute also contemplates an

inquiry into whether a claim has been paid pursuant to that rate over some period left

entirely unspecified. While they suggest that the Departments may be able to

determine a reasonable period to look back or forward in implementing the statute,

they cannot point to anything in the statute that might guide this inquiry or any

indication why Congress would have omitted any mention of this period if Congress

had actually contemplated the inquiry that plaintiffs claim is required.

      And even if such a period could be determined, the administrability

considerations here are substantial. At a minimum, plaintiffs’ approach would require

plans to look beyond their contracted rates and cross-check every single rate against

claims data. But even this likely understates the problems associated with such an

approach. Plaintiffs suggest (TMA Br. 37-38) that plans maintain the data necessary

to determine whether a provider has submitted a claim for a given service over a

particular period. But a plan’s claims data only reveal what services were provided to
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the plan’s own participants or beneficiaries—plans have no source of information as

to what services a provider may have provided to patients covered by other plans or

issuers. A heart surgeon who performed a particular heart surgery on 10 Aetna

patients may have never performed that particular surgery on a Blue Cross patient. If

Blue Cross has a contract with that provider that includes a contracted rate for that

particular heart surgery, the plan would have no way of knowing whether that rate

could be included in the QPA under plaintiffs’ interpretation.

      Plaintiffs further argue (TMA Br. 36) that policy concerns regarding the

burdens that their approach would impose on the QPA calculation process should not

permit departure from the terms Congress chose. But the Departments’ rule does not

depart from the statutory text. And to the extent plaintiffs assert that any

consideration of the burden imposed by the rule is improper, it would be unusual for

Congress to task an agency with crafting a regulatory mandate applicable to private

companies (here, the private health plans responsible for computing QPAs) and

expect the agencies to ignore the feasibility and the relative burdens associated with

various alternative approaches to implementing the statute. Plaintiffs identify nothing

in the statute or its legislative history that suggests Congress intended to deny the

Departments the authority to account for administrability when developing a

methodology for computing QPAs.

      In any case, it is plaintiffs’ reading that imports an atextual limitation into the

text of the statute based on a purported policy concern. Plaintiffs insist that their
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reading is necessary to prevent the incorporation of so-called “ghost rates” into the

calculation. As plaintiffs acknowledge, however, such policy concerns are not a basis

for failing to give a statute its natural reading. And in any event, as the Departments

indicated (see Opening Br. 30-31), the statute separately addresses those concerns

through the requirement that the QPA calculation be based on the rates from

providers in the same or similar specialty. Plaintiffs wrongly suggest (TMA Br. 45)

that this is a post hoc justification. But the Departments specifically noted the

concern that certain specialties may not have an incentive to aggressively negotiate

rates for services they do not provide regularly and noted that, where that occurs, the

lower rates agreed to by out-of-specialty providers would not be included in the QPA

applicable to in-specialty providers. See FAQs About Affordable Care Act and

Consolidated Appropriations Act, 2021 Implementation Part 55, at 16-17, 17 n.29

(Aug. 19, 2022) (Aug. FAQs) (ROA.413-14). Thus, for example, if a dermatologist’s

contract with a plan happened to contain an artificially low rate for performing heart

surgery, that rate would have no effect on the QPA that would govern for heart

surgeries performed by heart surgeons. In addition, the Departments have not

challenged the district court’s conclusion that the statute requires calculating rates by

specialty even when there is no indication that they differ materially across specialties.2


       2
        As noted in the opening brief (at 18 n.8), the Departments’ rule had initially
defined “[p]rovider in the same or similar specialty” as the practice specialty of a
provider, as identified by the plan or issuer consistent with its usual business practice,

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As a result, it is now even less likely that the concern plaintiffs raise about “ghost

rates” could result in lower QPAs for providers who regularly provide a particular

service.3

       2. Plaintiffs argue as an alternative ground for affirming the district court’s

judgment that the Departments’ treatment of this issue was arbitrary and capricious.

To the extent this argument just repackages their misreading of the statutory language,

it fails for the reasons discussed above. Plaintiffs also reiterate (TMA Br. 44-46) their

concern that certain rates may not reflect the actual market rate for a particular service

given a purported lack of incentive for a provider to negotiate the rates for certain

services based on that provider’s expectations of how often he or she will provide

those services. But as noted above, whatever a provider’s expectations at the time a

contract is entered into, the agreed-to rate will govern any provision of a particular

service to a plan member over the course of a contract, and it is reasonable for the


while specifying that, if a plan or issuer has contracted rates for a service code that
vary based on provider specialty, the median contracted rate is calculated separately
for each specialty. 45 C.F.R. § 149.140(a)(12). The district court concluded that the
No Surprises Act requires that a plan calculate separate QPAs for separate specialties
even if it did not vary its contracted rates based on provider specialty, see ROA.13209-
11, and the Departments do not challenge that holding except to the extent that the
district court ordered universal vacatur as a remedy.
       3
         The air ambulance plaintiffs also suggest (Air Ambulance Br. 33) that QPAs
for air ambulance services include artificially low rates from providers who do not
provide air ambulance services, but they do not address whether any such rates would
be excluded by the requirement that a provider be in the same or similar specialty as
an air ambulance provider (or, to the extent they are being offered by in-specialty
providers, why such a provider would not expect to provide air ambulance services).
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Departments to conclude that all such rates should be included in the QPA

calculation. That is all the more true given the recognized variability in whether a

provider that may very well expect to provide a service in fact happens to do so in the

particular period of time that a contract covers. See Blue Cross Blue Shield Ass’n

Amicus Br. 10-11 (documenting data reflecting variation in whether providers that

have submitted claims for providing a particular service happen to do so in a

particular calendar year).

       Plaintiffs suggest (TMA Br. 47) that the Departments’ argument that it is

reasonable to direct plans simply to look to rates reflected on the face of their

contracts in calculating QPAs represents a post hoc rationalization as well. But that

cannot be squared with the repeated references in the rule’s preamble to basing the

QPA on a plan’s contracts themselves, rather than on an analysis of past services

provided. See 86 Fed. Reg. at 36,889 (explaining that the QPA is calculated by

“arranging in order from least to greatest the contracted rates of all plans of the plan

sponsor” and “the rate negotiated under a contract constitutes a single contracted rate

regardless of the number of claims paid at that contracted rate”). At the very least,

“the agency’s path may reasonably be discerned” from that explanation. FCC v. Fox

Television Stations, Inc., 556 U.S. 502, 513-14 (2009) (quotation marks omitted).

       Plaintiffs also assert (TMA Br. 47-48) that the requirement that QPAs be

calculated based on provider specialty affords insufficient protection against artificially

low QPAs because, even within a specialty, providers may have different expectations
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regarding their likelihood of performing particular services. It is unclear how much

that concern applies to the emergency medicine context, for example, where it is in a

provider’s interest to negotiate rates even for services that he or she will not provide

to most patients treated in the emergency room. See Blue Cross Blue Shield Ass’n

Amicus Br. 8-9. And in any event, plaintiffs’ example, suggesting that heart surgeons

whose practices differ slightly in terms of the services that they typically provide are

not appropriate comparators whose rates should be included in the QPA for heart

surgery services, demonstrates how unworkable and atextual their reading of the

statute is. On plaintiffs’ view, even with respect to a heart surgeon agreeing to rates

for providing heart surgery, a plan would not be able to calculate a QPA based on

such rates unless it had some indication that the providers really meant to provide the

item or service at the agreed-to rate when they agreed to the rate; they suggest no

basis on which a plan is to make such a determination, other than the happenstance of

whether a particular provider has provided such a service over a statutorily undefined

period. The statute, however, requires no such thing, instead simply specifying that

the QPA is to be calculated based on the rates of “a provider in the same or similar

specialty,” 42 U.S.C. § 300gg-111(a)(3)(E)(i)(I).

       Finally, while plaintiffs fault (TMA Br. 47) the Departments for excluding $0

rates from the QPA calculation but not other supposedly too low rates, the

Departments appropriately recognized that, where a $0 amount is included in a fee

schedule as a placeholder for a covered item or service that a provider does not
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provide, the $0 placeholder “does not represent a contracted rate.” Aug. FAQs 17 &

n.29 (ROA.414). The same cannot be said of other rates that plaintiffs simply think

are below the market rate notwithstanding Congress’s determination that plan

contracts are the best proxy for negotiated market rates.

      B.     The Rule Permissibly Directed Health Plans to Exclude
             Case-Specific Agreements from the QPA Calculation.

      1. The Departments explained in their opening brief (at 31-37) that the district

court further erred in concluding that the QPA calculation must include amounts

reflected in case-specific agreements used to resolve payment for one-off provisions

of medical services, often after the care has already been provided by an out-of-

network provider. As the Departments recognized, statutory text and structure make

clear that the QPA calculation should be based on rates recognized under a plan’s

generally applicable terms, which further serves the statutory purpose of having the

QPA track in-network rates.

      In defending the district court’s holding on this point, the air ambulance

plaintiffs frankly concede that the amounts reflected in the case-specific agreements

they seek to include in the QPA calculation represent the higher amounts they were

able to charge for out-of-network transports prior to the No Surprises Act’s taking

effect. See Air Ambulance Br. 32 (noting that case-specific agreements, “by definition,

occur only in out-of-network transports”); see also id. at 31-32 (arguing that the QPA

should be based on the higher out-of-network rates air ambulance providers were able

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to charge prior to the Act’s taking effect). While Congress enacted the Act to address

the precise market failure reflected in the inflated amounts air ambulance providers

were able to extract in such after-the-fact agreements, see Opening Br. 36-37, plaintiffs

argue that that distortion must be locked into the rates patients pay for such services

indefinitely through their inclusion in the QPA. But plaintiffs can establish neither

that the Departments were statutorily required to include such amounts in the QPA

calculation nor that the Departments acted unreasonably in omitting these amounts

from a calculation designed to track in-network rates.

       In arguing that inclusion of these rates was statutorily compelled, plaintiffs

reiterate (Air Ambulance Br. 23-26) the district court’s reasoning that case-specific

agreements must be included because such agreements are contracts. But the relevant

question is whether these agreements establish “contracted rates” for services “under”

a plan or policy. As the Departments explained in their opening brief, a one-off

payment to an out-of-network provider that settles an individual claim but does not

establish a set rate of payment available to all plan participants for a given period of

time fails to meet that definition.

       Plaintiffs suggest that “rate” may mean a “[p]rice” or “sum paid or asked for a

single thing” in a one-off situation. See Air Ambulance Br. 26 (quoting Rate, Oxford

English Dictionary (online ed.)). But the Oxford English Dictionary, which they cite

for this definition, makes clear that the definition that the government cited—defining

rate as “[a] fixed charge or payment applicable to each individual instance of a set of
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similar cases; esp. the amount paid or asked for a certain quantity of a particular

commodity, service”—is “now much the more common” and “implies that the same

price or sum applies to a number of similar cases and is in some way fixed or

standardized.” Rate, Oxford English Dictionary (online ed.).

       Plaintiffs assert that the Departments’ reliance on the natural understanding of

“rate” represents a post hoc justification and that the Departments simply “declared

by fiat (without any explanation),” Air Ambulance Br. 27, that case-specific

agreements would be excluded from the QPA calculation. But the Departments did

explain why such agreements should be excluded, noting that the term “contracted

rate” applies “only to the rate negotiated with providers and facilities that are

contracted to participate in any of the networks of the plan or issuer under generally

applicable terms of the plan or coverage.” 86 Fed. Reg. at 36,889 (emphasis added).

While the Departments did not cite the dictionary definitions that make clear this

understanding is correct, the agency’s underlying rationale is the same and again its

“path may reasonably be discerned.” Fox, 556 U.S. at 513-14 (quotation marks

omitted).

       Plaintiffs miss the point in suggesting (Air Ambulance Br. 39-40) that there is

some inconsistency between the Departments’ treatment of case-specific agreements

and the conclusion that an amount a provider and a plan have agreed on for a

particular service represents the “rate” for that service no matter how many times that

rate is paid. In the latter case, the amount is a “rate” because it is the generally
                                            16
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applicable fixed amount that will be charged each time a particular item or service is

provided by a given provider, and that remains true even if a provider does not end

up providing that item or service over a given period. By contrast, a one-off amount

reflected in a case-specific agreement is by definition applicable only to the particular

patient and the particular provision of care covered by the agreement.

       As the Departments also explained in their opening brief (at 33-34), the district

court’s interpretation of this provision similarly did not take into account the fact that,

to be included in the QPA, a rate must be “under” a plan or coverage, which is

naturally understood to mean that the payment is “subject or pursuant to,” “governed

by,” or owed “by reason of the authority of” the terms of the plan or policy. See

Ardestani v. INS, 502 U.S. 129, 135 (1991) (discussing meaning of “under”). A

payment under a case-specific agreement, which plaintiffs concede is necessarily made

to an out-of-network provider without a preexisting agreement with the plan, is not

dictated by the generally applicable terms of a plan or policy. As a result, as the

district court in Association of Air Medical Services v. HHS, No. CV 21-3031 (RJL), 2023

WL 5094881 (D.D.C. Aug. 9, 2023), recognized, in a decision plaintiffs do not

address, such agreements fall outside the plain terms of the Act. See id. at *4.

       Plaintiffs suggest (Air Ambulance Br. 41-42) that case-specific agreements must

be made “under” the terms of the plan or coverage, or else any such payments would

violate fiduciary duty obligations imposed by the Employee Retirement Income

Security Act (ERISA), which prohibit dissipating the plan’s assets for a purpose other
                                            17
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than providing benefits to participants and beneficiaries. See 29 U.S.C.

§ 1104(a)(1)(A). But plans and issuers have a valid reason to pay providers for out-of-

network services to avoid at least some of the negative consequences that would result

if their customers or participants were routinely denied any assistance with expensive

surprise medical bills. Thus, although payments made in case-specific agreements are

payments for the general purpose of providing a benefit to plan participants and

beneficiaries (and consequently would not necessarily breach a fiduciary duty under

ERISA), they are not payments that are dictated “by reason of the authority of” the

plan or policy documents themselves. See Ardestani, 502 U.S. at 135. As a result,

nothing about the ERISA requirement plaintiffs cite transforms such a payment into a

contracted rate recognized “under” the terms of a given plan or coverage. Payments

for in-network services, at rates that are negotiated in advance, are such payments, and

so the contracted rates for those in-network services are properly included in the

QPA.4


        4
          To the extent plaintiffs suggest that it is sufficient that the case-specific
agreement must be “in accordance with” a plan’s documents under 29 U.S.C.
§ 1104(a)(1)(D) in the sense that the plan documents do not forbid the one-off
payment, they did not make this argument in the district court, and it is consequently
forfeited. See Ross v. Midwest Commc’ns, Inc., 870 F.2d 271, 272 (5th Cir. 1989) (noting
that the Court is “free to affirm the district court’s decision on alternative grounds, if
those grounds have been properly preserved” (emphasis added)); see also, e.g., Mansourian v.
Regents of the Univ. of Cal., 602 F.3d 957, 974 (9th Cir. 2010) (declining to consider
argument not raised before the district court as alternative ground for affirmance). In
any event, that would not in any meaningful sense mean that such payments are
“governed by” the plan in a way that the plain language of the Act indicates is

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       And while plaintiffs try to dismiss (Air Ambulance Br. 40) the Departments’

reliance on the requirement that a rate be recognized “under” a plan as a post hoc

justification as well, they again simply ignore the Departments’ explanation that case-

specific agreements are excluded because “[t]he term ‘contracted rate’ refers only to

the rate negotiated with providers and facilities that are contracted to participate in

any of the networks of the plan or issuer under generally applicable terms of the plan

or coverage.” 86 Fed. Reg. at 36,889. That is the same reasoning provided here.

       Plaintiffs also have no explanation of how their argument can be squared with

the statutory specification that the QPA be based on rates recognized on a particular

day (January 31, 2019). As the government noted (Opening Br. 34), the Departments’

exclusion of one-off agreements is sensible in light of the fact that the Act specifies a

particular date on which a rate must be recognized, such that if the provision is read

to cover case-specific agreements it could only be read to encompass such agreements

that happened to be in place on that particular day. Plaintiffs now term (Air

Ambulance Br. 43) this argument too a post hoc justification. As noted, however, the

Departments reasoned that “contracted rates” encompass only rates contracted for

under a plan’s generally applicable terms, and the statute’s inclusion of a specific date


required. See Association of Air Med. Servs., 2023 WL 5094881, at *4. Plaintiffs also cite
a number of provisions of the Public Health Service Act and the Internal Revenue
Code, but the cited provisions simply require that plans subject to those provisions
comply with claims and appeals provisions established under ERISA and have no
obvious relevance to whether any one-off payments are necessarily made “under” the
relevant plans or coverage.
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on which to assess what such rates exist only bolsters the force of that reasoning.

Indeed, on the substance, plaintiffs can muster as a response only that the

Departments may be able to establish a period before January 31, 2019, for which

case-specific agreements should be included in the QPA calculation. See Air

Ambulance Br. 43. But there is no basis for reading any such period into a statute

that provides only a single date on which to assess the rates recognized.

       2. Plaintiffs argue as an alternative ground to affirm the district court’s

judgment that the Departments’ treatment of case-specific agreements was arbitrary

and capricious, because it purportedly did not serve the purpose of having the QPA

approximate rates that are the product of “typical market negotiations.” Air

Ambulance Br. 30 (quoting 86 Fed. Reg. 36,895). Because one-off agreements to

address services provided by out-of-network providers were common in the air

ambulance industry, plaintiffs argue (Air Ambulance Br. 32) that these agreements

should be considered to set the relevant market rates. But they ignore that this is

precisely the problem that the No Surprises Act was designed to address. As noted,

the Act was designed to eliminate the market distortion caused by surprise billing,

including its particularly pronounced effect on the air ambulance industry. See

Opening Br. 35-37; see also, e.g., H.R. Rep. No. 116-615, pt. 1, at 52-53 (2020)

(ROA.933-34) (recognizing market distortion caused by surprise billing and the fact

that air ambulance rates were particularly inflated as a result). The QPA is designed

not to lock in those inflated rates but rather, as even the district court recognized, to
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approximate the rate a provider would have received for a given service had the

provider been in-network for the relevant plan. See, e.g., ROA.13197. That goal is

furthered by the Departments’ determination that the QPA must be calculated based

on a plan’s generally applicable pre-negotiated rates, and it is plaintiffs’ reading that

cannot be squared with the statute’s purpose.

       Plaintiffs similarly miss the mark in arguing that the rule interprets “similar

statutory language to mean two different things,” Air Ambulance Br. 34, insofar as it

excludes case-specific agreements from the QPA, while treating such agreements as

creating a “contractual relationship” that could render a facility a “participating”

emergency or health care facility for certain purposes under the Act. See 42 U.S.C.

§ 300gg-111(a)(3)(F)(ii), (b)(2)(A)(i); 45 C.F.R. § 149.30. But there is no contradiction

because these different phrases mean different things and serve different purposes.

As the Departments explained, see 86 Fed. Reg. at 36,882, 36,889 n.48, 36,931, the

“contractual relationship” provision, pursuant to which a health care facility is

“participating” for purposes of a given medical item or service—such that the Act’s

surprise-billing protections for non-emergency services provided by a

nonparticipating provider at a participating health care facility will apply—is met when

the facility “has a direct or indirect contractual relationship . . . with respect to the

furnishing of such an item or service at the facility,” 42 U.S.C. § 300gg-111(b)(2)(A)(i).

It is entirely reasonable that a facility would be understood to have a “direct or

indirect contractual relationship with” a plan pursuant to a case-specific agreement,
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but that conclusion has no bearing on whether an amount agreed to in that context

represents a contracted “rate” recognized “under” the plan such that it should be

included in the QPA. Compare id. § 300gg-111(a)(3)(E)(i)(I), with id. § 300gg-

111(b)(2)(A)(i).

       C.     The Rule Permissibly Directed Health Plans to Exclude
              Bonus and Incentive Payments from the QPA Calculation.

       1. As the Departments also explained (Opening Br. 37-41), the rule reasonably

excluded from the QPA calculation various incentive-based or retrospective payments

or payment adjustments, including bonuses or penalties. Such retrospective

adjustments are rarely tied to a particular item or service, but rather are generally

based on other metrics, such as quality or other performance standards, assessed at an

aggregate level. As the Departments noted, moreover, calculating the QPA without

reference to such adjustments is consistent with the manner in which a patient’s cost-

sharing amount is customarily determined at or near the time a service is furnished.

In other words, payment adjustments are not normally relevant to the determination

of how much a patient is expected to pay. A patient with a 20% co-insurance

obligation will typically pay $200 on a provider’s $1,000 base contracted rate, even if

the provider ultimately also earns a further bonus that could be attributable, at least in

part, to the provider’s care for that patient. Because a key function of the QPA is to

serve as the metric for determining the maximum amount a patient can be required to

pay for a service covered by the Act (see Opening Br. 11), the Department acted

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reasonably in requiring that the QPA be determined in a manner that mimics typical

industry practice for determining patient cost-sharing responsibilities.

       Plaintiffs assert (TMA Br. 38) that the Departments’ interpretation is

inconsistent with the statute’s directive that the QPA for a particular item or service

be based on the rates recognized by a health plan as “the total maximum payment

(including the cost-sharing amount imposed for such item or service and the amount

to be paid by the plan or issuer, respectively) . . . for the same or a similar item or

service.” 42 U.S.C. § 300gg-111(a)(3)(E)(i)(I). But, as the Departments made clear in

their opening brief (at 38-39), the “total maximum payment” for a given “item or

service” is naturally understood to mean the highest value a plan has contracted to pay

for that particular item or service, including both any cost-sharing amount paid by the

patient and the amount paid by the plan. It does not naturally include bonus and

incentive payments rarely tied to a rate for a particular service. See 86 Fed. Reg. at

36,893-94.

       Amicus briefs filed by America’s Health Insurance Plans and Blue Cross Blue

Shield Association outline the common forms these various alternative payment

models may take, and across the models, retrospective payments or adjustments are

made in such a way that cannot be naturally linked to a particular service so as to be

considered part of the “total maximum payment” for that service. See America’s

Health Ins. Plans Amicus Br. 11-15 (noting that such models may encompass things

like adjustments based on a provider group’s overall performance or savings
                                             23
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generated across multiple patients and services); Blue Cross Blue Shield Ass’n Amicus

Br. 18-22 (similarly noting that alternative payment models often incorporate

performance-based payments tied to outcomes across a number of patients and

services as well as payments for things like general infrastructure investments or

performing data-reporting services). These features underscore that the Departments

acted reasonably in determining that such payments were properly not included in the

rate for a particular service and consequently should be excluded from the QPA

calculation. While here too plaintiffs suggest (TMA Br. 41) that the Departments are

offering a post hoc rationalization, they simply ignore the relevant discussion in the

rule’s preamble. As the Departments explained, bonus and incentive payments are

rarely tied to specific contracted rates for particular items and services; rather, these

payments often arise in situations in which plans are paying providers a bundled

payment for multiple services or a fixed fee per plan member or they are paying a

lump sum to promote certain benefits over time. See 86 Fed. Reg. at 36,893-94.

       Plaintiffs argue (TMA Br. 42) that a payment need not be directly linked to a

service to be included in the QPA calculation, citing the Departments’ authority to

account through rulemaking for “payments that are made by [a] plan . . . that are not

on a fee-for-service basis.” 42 U.S.C. § 300gg-111(a)(2)(B). But that provision

highlights that Congress conferred discretion on the Departments in determining how

to account for such payments, and the Departments reasonably exercised that

authority in determining that plans employing a non-fee-for-service model should
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generally calculate QPAs based on an underlying fee schedule rate or similar “derived

amount” that a health plan may have established for cost-sharing or other internal

accounting purposes. 86 Fed. Reg. at 36,893. Bonus payments fall outside that

approach for the same reason that they cannot naturally be linked to a particular

service under a fee-for-service model. And while plaintiffs posit (TMA Br. 40-41)

hypothetical examples in which they assert that a particular bonus could be linked to a

particular service, it is unclear on their examples’ own terms whether a bonus for

providing a certain service a specified number of times represents a payment for

providing that service in a particular instance, even assuming that an incentive

payment takes this form. In any event, the Departments did not act unreasonably in

using their express authority under the No Surprises Act to establish a QPA-

calculation methodology that comports with the general manner in which both fee-

for-service and non-fee-for-service payment models treat retrospective adjustments

notwithstanding the hypothetical rare exceptions plaintiffs posit.5

      The Departments’ interpretation of what it means for a payment to be for a

particular item or service is bolstered by the industry practice regarding the calculation



      5
         Similarly, even if a comment plaintiffs highlight, see ROA.5917, in fact
suggests that a particular plan’s payment model is set up in such a manner that an
incentive-based component of a payment to a particular provider “cannot be
separately parsed” from the amount otherwise paid for a service, that rare situation
could be addressed through future guidance, and the Departments did not act
unreasonably in declining to deviate from normal industry practice in order to tailor
the rule’s entire methodology around uncommon, outlier arrangements.
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of cost-sharing payments discussed in the opening brief (at 40), where such payments

are generally calculated around the time a service is provided and not subsequently

altered on the basis of any retrospective payments. Plaintiffs argue that the industry

practice cannot be considered where a statutory term is clear, but as discussed, the

Departments are reasonably interpreting what constitutes the total maximum payment

for a particular service. Industry practice represents a “prime source[]” for

determining what interpretation best comports with congressional intent in this

regard, City of Dallas v. FCC, 118 F.3d 393, 395 (5th Cir. 1997), and it was reasonable

for the Departments to align their understanding of this provision with the manner in

which cost-sharing payments are determined generally, particularly given the QPA’s

determinative role in setting cost-sharing responsibilities under the Act.

      2. Plaintiffs again argue (TMA Br. 48) as an alternative ground for affirmance

that the Departments’ decision was arbitrary and capricious. They maintain that

excluding bonus payments results in non-market rates because a provider would have

asked for a higher fixed per-service rate in the absence of a bonus. But as the

discussion above reflects, such retrospective payments are not generally offered as a

concession for adopting lower fixed per-service rates but rather are associated with a

provider group’s overall performance across a number of patients or services or in

connection with providing other services like data reporting. Especially given the

broad discretion Congress gave the Departments to determine how to address non-

fee-for-service payment models, their choices in this regard were reasonable.
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      Moreover, as noted, those amounts are generally obtained on the back end

from plans, not directly from patients. The Act, as implemented under the challenged

regulations, is faithful to that structure. As noted, in many circumstances, the QPA is

dispositive of a patient’s maximum cost-sharing obligation and, thus, excluding bonus

payments from the QPA shields patients from responsibility for paying any portion of

them. But in the dispute resolution process between providers and plans, the QPA is

just one of several factors that are to be considered in determining the value of the

service and, accordingly, the amount the plan can be required to pay. See Opening Br.

12-13. Notably, providers are free to point to bonus and incentive payments, which

are not incorporated into the QPA, as a reason why the QPA does not reflect the full

value of their services. And the Departments have accordingly specified that, upon a

provider’s request, a plan must inform the provider whether the QPA includes

contracted rates not set on a fee-for-service basis and whether the plan’s rates include

incentive-based or retrospective payments or payment adjustments that were excluded

in calculating the QPA. See 45 C.F.R. § 149.140(d)(2)(iv); 86 Fed. Reg. at 36,899.

That approach reasonably allows providers to use such information to advocate for a

higher payment amount in negotiations with the plans or in any dispute resolution

process, while avoiding imposing additional cost-sharing expenses on patients at odds

with current industry practice and the congressional purpose in enacting the No

Surprises Act. And, as the government noted in its opening brief, it further tracks the

express contemplation in the statute that a provider’s “quality and outcomes
                                           27
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measurements” is a factor to be considered separately from the QPA. See Opening

Br. 41 (quoting 42 U.S.C. § 300gg-111(c)(5)(C)(ii)).

      Plaintiffs assert (TMA Br. 50) that more disclosures could have been required

regarding excluded bonus payments, but, as discussed infra pp. 36-43, they do not

provide a basis for concluding that the Departments acted unreasonably in not

requiring plans to provide even more information on this point. And plaintiffs do not

dispute that having the arbitrator consider incentive payments in the independent

dispute resolution (IDR) process is consistent with the statutory direction to consider

a provider’s quality and outcomes measurements at that stage. They argue (TMA Br.

50) that not all incentive payments are based on such considerations, but, even

assuming there are a meaningful number of such non-quality-based payments that

could even plausibly be termed a payment for a particular service, the existence of this

statutory provision nonetheless makes clear that locating consideration of such factors

in the dispute resolution process is consistent with the structure that the No Surprises

Act established.

      Finally, plaintiffs, as well as certain amici, express a general concern that out-of-

network providers may be insufficiently compensated if they are paid amounts

approximating the QPAs. See TMA Br. 51; see also Am. Soc’y of Anesthesiologists

Amicus Br. 26-29; Physicians Advocacy Inst. Amicus Br. 18-24; Emergency Dep’t

Practice Mgmt. Ass’n Amicus Br. 17-21. But such a concern provides no reason to

stray from Congress’s directive that the QPA be based on the rates charged for a
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particular item or service by inflating QPAs to incorporate payments not tied to any

service that an out-of-network provider actually provided. And it would be

particularly inappropriate to interpret the Act to increase patients’ cost-sharing

responsibilities in this way, where the principal purpose of the statute (albeit one only

glancingly acknowledged by plaintiffs) is to ameliorate the serious effects that surprise

billing had on patients and ensure that covered out-of-network care would generally

not cost more for patients than if the same care had been provided in-network. See 42

U.S.C. §§ 300gg-111(a)(1), 300gg-112(a)(1); see also, e.g., Southwestern Elec. Power Co. v.

EPA, 920 F.3d 999, 1028 (5th Cir. 2019) (explaining that courts should not adopt an

interpretation that “is contrary to clear congressional intent or frustrates the policy

Congress sought to implement” (quotation marks omitted)).

II.    The Rule Permissibly Interpreted the No Surprises Act’s Statutory
       Deadline for Health Plans to Make an Initial Payment or Notice of
       Denial of Payment.

       1. As the government’s opening brief also explained (at 41-47), the district

court further erred in invalidating a provision of the rule that specified that the

statutory 30-day period for plans to submit an initial payment or notice of denial of

payment is triggered when the plans receive “the information necessary to decide a

claim for payment for the services.” 45 C.F.R. § 149.130(b)(4)(i). The Departments’

interpretation reasonably supplies meaning to the otherwise undefined statutory term

“bill for such services.” 42 U.S.C. § 300gg-112(a)(3)(A). In adopting the challenged

definition, the Departments sensibly determined that plans should not be required to
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act on a claim for payment before they have sufficient information to determine

whether a furnished service is a covered benefit under the terms of the plan or

coverage. That information is essential to determine whether the No Surprises Act’s

protections apply in the first place, and without it, a plan may have no choice but to

deny a claim, leading to confusion as to whether the service in question is subject to

the Act’s protections against surprise billing. This approach also aligns practice under

the No Surprises Act with general industry practice governing medical billing.

       Plaintiffs argue (Air Ambulance Br. 48) that the statutory term “bill” is

unambiguous, but they do not supply a definition of the term, much less suggest that

the purportedly non-technical definitions offered by the district court are workable,

where they may require a plan to make a determination as to whether a claim will be

covered before the provider submits the information necessary to that analysis.

Plaintiffs suggest (Air Ambulance Br. 44-45) that the Departments’ interpretation is

itself unworkable by granting plans unilateral authority to determine when they have

the information necessary to decide a claim, but that is simply not what the rule

provides. Consistent with established industry practice, a provider must give a plan

the information necessary to decide a claim, but if that provider has done so, a plan

may not, consistent with the regulations, claim that some additional information is

necessary, whether from the provider or a third party. To the extent that plaintiffs are

arguing that plans are not complying with this directive or are interpreting it

unreasonably in practice, the Departments have made clear that providers may
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contact the No Surprises Help Desk or file a complaint, which can then result in the

relevant federal or state entity investigating the plan in question. ROA.416. Plaintiffs’

asserted concerns regarding the manner in which providers comply with this

regulatory directive consequently provide no basis for invalidating the Departments’

reasonable interpretation of this ambiguous statutory term.

       Like the district court, plaintiffs place heavy weight on the fact that other

provisions in title 42 use the term “clean claim,” but also like the district court they

point to no evidence that Congress made a “deliberate choice to use the term ‘bill’

rather than ‘clean claim.’” Air Ambulance Br. 49. Nor do they have a response to the

government’s point in its opening brief (at 45-46) that the regulatory definition

adopted by the Departments of “bill” is not identical to the statutory definitions of

“clean claim” offered in a number of the statutes plaintiffs cite. Even further afield,

plaintiffs argue (Air Ambulance Br. 52-53) that there is an inconsistency between the

Departments’ interpretation of the 30-day deadline in the No Surprises Act and

ERISA’s requirements that group health plans “provide adequate notice” of any

denial of a claim and “a reasonable opportunity . . . for a full and fair review” of the

denial. 29 U.S.C. § 1133. But there is no dispute that the No Surprises Act imposed a

specific statutory deadline on making an initial payment determination for certain

covered services that was not present previously, even if the Departments had

adopted via rulemaking a somewhat similar deadline for making benefit

determinations. See, e.g., 29 C.F.R. § 2560.503-1(f) (setting out timing of notification
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of benefit determinations). And the fact that, in previously addressing such questions,

the Departments had also recognized that it is unworkable to require a benefits

determination be made before a plan has the information required to decide the claim

only underscores that the Departments’ interpretation is consistent with established

industry practice in this area. See City of Dallas, 118 F.3d at 395. These provisions

provide no basis for concluding that Congress rejected this approach in the No

Surprises Act either.

      Plaintiffs also suggest that the Departments lack rulemaking authority with

respect to this provision of the No Surprises Act and fault the government for not

addressing this “threshold issue.” Air Ambulance Br. 54. But the district court did

not hold that the Departments lacked rulemaking authority as to this provision and

for good reason. While the No Surprises Act did not specifically require the

Departments to issue rules relating to the statutory deadline for making a payment

determination, the Act amended the Public Health Service Act, ERISA, and the

Internal Revenue Code to add this provision along with the other provisions of the

Act. Each of these statutes authorizes the Secretary of the relevant Department

administering the statute to “promulgate such regulations as may be necessary or

appropriate to carry out the provisions of this subchapter,” 42 U.S.C. § 300gg-92; see

also 26 U.S.C. § 9833; 29 U.S.C. § 1191c. That Congress recognized in the No

Surprises Act specific areas as to which the Departments were directed to conduct

rulemaking by a statutorily specified deadline provides no basis to conclude that it was
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thereby depriving the Departments of authority to interpret ambiguous statutory

terms in statutes over which the agencies had broad general rulemaking authority. See

City of Arlington v. FCC, 569 U.S. 290, 296-301 (2013) (“Statutory ambiguities will be

resolved, within the bounds of reasonable interpretation, not by the courts but by the

administering agency.”).

       2. Finally, as to this provision too, plaintiffs argue as an alternative ground for

affirmance that the Departments’ interpretation of this provision is arbitrary and

capricious. But here, too, they largely repackage their statutory arguments, and those

arguments are no more availing in this context. As discussed above, the rule’s

regulatory requirement is not unenforceable, and to the extent plaintiffs or other

providers believe they have provided a plan with the necessary information to decide

a claim for a covered item or service and the plan has failed to issue an initial payment

determination within the requisite period, they may contact the Help Desk or file a

complaint, as the Departments expressly suggested. This argument provides no basis

to invalidate this provision in this context either.

III.   At a Minimum, the District Court Erred in Issuing Overbroad
       Relief.

       As explained (Opening Br. 47-50), the district court’s universal vacatur with

respect to the provisions it concluded were inconsistent with the No Surprises Act

was erroneous.




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      Even assuming vacatur were an available remedy for a successful

Administrative Procedure Act (APA) challenge to a regulation, but see United States v.

Texas, 599 U.S. 670, 693-702 (2023) (Gorsuch, J., joined by Thomas and Barrett, JJ.,

concurring in the judgment), it does not follow that plaintiffs justified that equitable

remedy in the circumstances of this case. Instead, the matter should have been

remanded to the Departments without vacatur of the challenged provisions in light of

the “disruptive” consequences of vacatur. See, e.g., Central & S. W. Servs., Inc. v. EPA,

220 F.3d 683, 692 (5th Cir. 2000) (remanding without vacatur). Consistent with

Congress’s intent, the district court should have preserved these provisions rather

than imposing the significant disruption occasioned by vacating the QPA calculation

methodology given the important role these calculations play across a number of

statutory contexts. That also could have avoided imposing on plans the costs of

undertaking multiple rounds of QPA calculations (costs that plans are continuing to

incur), which are in turn passed on to insured consumers, as the Departments

determined how to respond to the district court’s decision. See 86 Fed. Reg. at

36,927-28 (estimating costs associated with calculating QPAs).

      In any event, even assuming vacatur was an appropriate remedy here, the

district court erred by extending relief beyond the parties, in contravention of

constitutional and equitable principles. Regardless of whether courts may vacate

agency action universally, they “should ‘think twice—and perhaps twice again—

before granting’ such sweeping relief.” Texas, 599 U.S. at 702 (Gorsuch, J., joined by
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Thomas and Barrett, JJ., concurring in the judgment) (quoting Arizona v. Biden, 40

F.4th 375, 396 (6th Cir. 2022) (Sutton, C.J., concurring)). If “party-specific relief can

adequately protect the plaintiff’s interests,” then “an appellate court should not

hesitate to hold that broader relief is an abuse of discretion.” Id. at 703. That is the

case here because nothing about the injuries plaintiffs claim required extending the

equitable relief they sought to non-parties, and it is particularly inequitable for the

court to have ordered universal vacatur here where it resulted in the effective

nullification of the judgment of another district court that had rejected a challenge

brought by a large industry group to one of the same provisions invalidated by the

district court here. Plaintiffs note (TMA Br. 68) that the requirements challenged here

are imposed on plans, rather than the plaintiffs themselves, but nothing about that

fact would preclude the court from limiting the scope of any vacatur ordered to the

rule’s application in a situation in which it might conceivably injure the plaintiffs. At

the very least, the court should have considered whether such a tailoring of the

remedy was feasible before ordering a universal vacatur. See Texas, 599 U.S. at 701-02

(Gorsuch, J., joined by Thomas and Barrett, JJ., concurring in the judgment).

       Plaintiffs contend (TMA Br. 67) that vacatur under the APA inherently

operates universally and cannot be limited to specific parties. But no such prohibition

on tailored relief appears in the text of the APA or the No Surprises Act, and

plaintiffs’ position would require a radical departure from “the bedrock practice of

case-by-case judgments with respect to the parties in each case.” Arizona, 40 F.4th at
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396 (Sutton, C.J., concurring). Regardless, if plaintiffs were correct that vacatur must

operate universally, that would only underscore that the district court should have

forgone vacatur in favor of party-specific equitable remedies. See 5 U.S.C. § 703

(authorizing courts reviewing agency action to consider, among other things,

“declaratory judgments” or “injunction[s]”). Plaintiffs strain credulity in contending

that universal vacatur of the challenged regulatory provisions was somehow “a less

drastic remedy” than party-specific relief. TMA Br. 67 (quoting Monsanto Co. v.

Geertson Seed Farms, 561 U.S. 139, 165 (2010)). Plaintiffs’ authority referred to vacatur

as “a less drastic remedy” when compared with the remedy of vacatur paired with the

“additional” relief of a redundant nationwide injunction. Monsanto, 561 U.S. at 165-66.

IV.   Plaintiffs’ Cross-Appeal Challenging the Rule’s Requirements
      Regarding the Information That Plans Must Disclose About Their
      QPA Calculations Is Meritless.

      Plaintiffs also cross-appeal from the district court’s rejection of their challenge

to a regulatory provision that directs plans to disclose to the provider certain

information regarding the QPA calculation. Plaintiffs do not dispute that Congress

tasked the Departments with responsibility for issuing disclosure regulations but argue

that the Departments should have imposed disclosure requirements that were even

more rigorous. Notably, in marked contrast to their arguments elsewhere, plaintiffs

ground their arguments here not in any statutory text but rather in purported

practicalities and in their conception of the aims and purposes of the Act. While the

Departments agree that these are valid considerations—and that plaintiffs are
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accordingly wrong to give them such short shrift in the context of the Departments’

own appeal—plaintiffs are wrong in arguing that the Departments acted unreasonably

here.

        A.    The Departments Adopted Reasonable Disclosure
              Requirements Pursuant to the No Surprises Act’s Grant of
              Broad Discretion to Promulgate Rules in This Area.

        The No Surprises Act directed the Departments to determine through

rulemaking “the information” that a plan “shall share with the nonparticipating

provider or nonparticipating facility” when determining the QPA pursuant to the

methodology established under the Act. 42 U.S.C. § 300gg-111(a)(2)(B)(ii). In

granting this rulemaking authority to the Departments, the statute does not specify

the type of information that should be shared or require the disclosure of any category

of information in particular.

        Pursuant to this directive, the Departments required that health plans must

submit to providers “the QPA for each item or service involved” and “a statement

certifying that[] . . . [t]he QPA applies for purposes of the recognized amount (or, in

the case of air ambulance services, for calculating the participant’s, beneficiary’s, or

enrollee’s cost sharing), and [that] each QPA shared with the provider or facility was

determined in compliance with the methodology outlined in these interim final rules.”

86 Fed. Reg. at 36,898. Upon request of the provider, plans must further provide

“information about whether the QPA includes contracted rates that were not set on a

fee-for-service basis” for the items or services at issue and “whether the QPA for
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those items and services was determined using underlying fee schedule rates or a

derived amount.” Id. at 36,899. If a related service code was used to determine the

QPA for a new service code, the plan must provide “information to identify which

related service code was used,” and “if an eligible database was used to determine the

QPA,” the plan must provide “information to identify which database was used to

determine the QPA.” Id. A plan may also be required upon request to provide “a

statement that the plan’s or issuer’s contracted rates include risk-sharing, bonus,

penalty, or other incentive-based or retrospective payments or payment adjustments

for the items and services involved that were excluded for purposes of calculating the

QPA.” Id. And in a provision added in a subsequent rule following public comment,

the Departments have required that, if the QPA was based on a downcoded service

code or modifier, plans disclose that the code was downcoded, provide an explanation

as to why, and disclose the amount the QPA would have been had the code not been

downcoded. 45 C.F.R. § 149.140(d)(1)(ii); see Requirements Related to Surprise Billing, 87

Fed. Reg. 52,618, 52,625-26 (Aug. 26, 2022) (explaining decision to adopt new

disclosure requirement).6

       The Departments explained that the disclosure requirements balance the

importance of transparency with reducing burdens on plans and issuers by minimizing


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         The rules define a “downcode” as “the alteration by a plan or issuer of a
service code to another service code” or change to a code modifier, where “the
changed code or modifier is associated with a lower qualifying payment amount than
the service code or modifier billed by” the provider. 45 C.F.R. § 149.140(a)(18).
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potentially voluminous disclosure requirements. See 86 Fed. Reg. at 36,898 (“The

Departments seek to ensure transparent and meaningful disclosure about the

calculation of the QPA while minimizing administrative burdens on plans and

issuers.”). And they explained that they required certain information to be disclosed

to allow plans and providers to negotiate and arbitrate via the IDR process. For

example, the discussion of the disclosure requirement regarding bonus and other

incentive payments specifies that “[h]aving information about whether the median

contracted rate excludes these types of payment adjustments” was included because it

“will better inform the open negotiation and IDR process.” Id. at 36,899. The district

court upheld these regulations against plaintiffs’ challenge, concluding that the statute

“gives the Departments wide latitude in issuing a disclosure rule, and the Departments

have shown that their rule is the result of reasoned decision making.” ROA.13217.

      B.     Plaintiffs’ Challenges to the Rule’s Disclosure Requirements
             All Fail.

      In their cross-appeal, plaintiffs challenge the district court’s upholding of the

rule’s disclosure requirements but provide no basis for concluding that the

Departments acted unreasonably in exercising the broad discretion granted to them

under the statute to promulgate disclosure requirements. There is no possible

argument here that the Departments failed to require the disclosure of information

that the statute itself commands be produced. Congress indeed did not specify the




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disclosure of any particular information but committed to the Departments the task

of determining what information would need to be disclosed.

       Plaintiffs nonetheless argue that the rule’s disclosure requirements do not

permit “meaningful insight” into the QPA’s calculations and suggest that the

Departments should have required disclosure of such items as the number of

contracted rates used by the plan to calculate the QPA, the number of times each rate

was paid, and the types of providers that agreed to each rate. TMA Br. 53. But the

statute does not require disclosure of these categories of information, and mandating

this level of disclosure could be extremely burdensome on plans and issuers. Such

disclosure is particularly unnecessary, moreover, where the Departments have laid out

in detail the manner in which the QPA must be calculated in the rule, see 86 Fed. Reg.

at 36,889, and required that plans certify that the QPAs provided were calculated in

compliance with the rule. The QPA calculation is thus not the “black box” that

plaintiffs assert, TMA Br. 56, and, while they may wish that additional information

were required to be disclosed, that does not make the disclosures that the

Departments did require unreasonable. See Southwestern Elec., 920 F.3d at 1028-29

(explaining that a regulation is not arbitrary and capricious even if it is not the only

possible version of the regulation that an agency could have written and even if it is

not the court’s preferred version). Nor does it make the Departments’ claim that they

balanced transparency against the burden imposed on plans “paradoxical,” even if the


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plaintiffs would have set that balance differently. TMA Br. 56 (quotation marks

omitted).

       Plaintiffs also suggest that they must have information sufficient to verify a

plan’s calculations in order to be able to submit a complaint under the statute. But

again, nothing in the statute establishes providers like plaintiffs as the auditors of

QPA calculations in this regard. To the contrary, it confers the responsibility to

conduct audits on the relevant Secretaries, providing that they will establish a process

to audit a sample of plans each year and may additionally audit any plan “if the

Secretary has received any complaint” or information involving lack of compliance

with the Act’s QPA calculation rules. 42 U.S.C. § 300gg-111(a)(2)(A)(ii). Plans found

to be operating in violation of the regulations are subject to fines and penalties. Id.

§ 300gg-22; 45 C.F.R. § 150.301 (authorizing civil money penalties). To the extent

plaintiffs have reason to believe that a plan is not complying with the No Surprises

Act or the rule, they certainly may bring that to the Departments’ attention, along

with any other instances of statutory or regulatory noncompliance, under the

complaint process established under the statute. See 42 U.S.C. § 300gg-

111(a)(2)(B)(iv); see also id. § 300gg-111(a)(2)(A)(i)(II). But nothing in the

establishment of that process requires providers to be permitted to recalculate every

QPA that a plan submits or otherwise suggests that the Departments acted

unreasonably in setting a different balance in the disclosure rules they promulgated.

This case is thus nothing like Texas v. United States, 497 F.3d 491 (5th Cir. 2007), on
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which plaintiffs rely, where this Court concluded that an agency’s regulations

bypassed various prerequisites of the Indian Gaming Regulatory Act and disrupted a

“finely-tuned balance,” id. at 506 (quotation marks omitted) that Congress had

established between tribal and State interests in this area. Id. at 506-09; see also id. at

512 (King, J., concurring in part and in the judgment) (concluding that the challenged

rule had set up procedures that omitted certain statutory prerequisites).

       While plaintiffs also term the Departments’ explanation of the disclosure rules

“paltry,” TMA Br. 56, the rule plainly sets forth the Departments’ explanation that

they were trying to strike a balance between transparency and the burden imposed by

voluminous disclosure requirements, 86 Fed. Reg. at 36,898. That is far more than

the “ipse dixit” plaintiffs describe. TMA Br. 57 (quotation marks omitted). And here

too, at the very least, “the agency’s path may reasonably be discerned,” Fox, 556 U.S.

at 513-14 (quotation marks omitted), and the reasons offered “conform to minimal

standards of rationality,” Luminant Generation Co. v. EPA, 714 F.3d 841, 850 (5th Cir.

2013) (quotation marks omitted). Nor were the Departments required to expressly

consider plaintiffs’ alternative disclosure requirements or the “maximum

transparency” alternative plaintiffs posit “requiring insurers to disclose everything (or

virtually everything) underlying their calculations.” TMA Br. 57. The Departments

explained that they were achieving a balance between the information conveyed and

the burden imposed by the disclosure requirements, and they adequately considered

and rejected additional disclosure requirements that, whatever added transparency
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benefits they might be thought to achieve, would have plainly increased the burden on

plans.

                                    CONCLUSION

         For the foregoing reasons, the judgment of the district court should be

reversed insofar as it concluded that four provisions of the Departments’ rule were

invalid and issued a nationwide vacatur. The district court’s grant of partial summary

judgment to the Departments should be affirmed.

                                                 Respectfully submitted,

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May 2024




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                          CERTIFICATE OF SERVICE

      I hereby certify that on May 13, 2024, I electronically filed the foregoing brief

with the Clerk of the Court for the United States Court of Appeals for the Fifth

Circuit by using the appellate CM/ECF system. Service will be accomplished by the

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                                                s/ Leif Overvold
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                       CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limit of Federal Rule of Appellate

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32(a)(5)-(6) because it was prepared using Word for Microsoft 365 in Garamond 14-

point font, a proportionally spaced typeface.



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